                                        Mail - Brenda
               Case 1:19-cv-00040-CW Document     2-3Mayes - Outlook
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RE: Incident regarding bus incident on Feb. 4th at West Point Jr High
Reid Newey <rnewey@dsdmail.net>
Thu 2/7/2019 1 :32 PM
To: Brenda Mayes <brenda.mayes@hotmail.com>
Cc: Craig Carter <ccarter@dsdmail.net>; John Zurbuchen <jzurbuchen@dsdmail.net>
Hi Ms. Mayes, first of all, let me apologize for this incident. We deeply regret the actions of our employee and will
be addressing this issue with urgency. I have asked Mr. Craig Carter to respond to you as well and work through
this matter, in terms of our actions with employee{s), etc. We had been made aware of this incident and were
already in the process of aggressively dealing with it, in terms of our employees. Again, I am sorry that this has
occurred and we will do our best to make sure that this does not occur again in any of our employees actions. If
you do not hear soon from Mr. Carter, please let me know.

Thanks, Reid
Reid Newey, Superintendent
Davis School District
801-402-5258
rnewey@dsdmail.net

From: Brenda Mayes <brenda.mayes@hotmail.com>
Sent: Thursday, February 7, 2019 7:32 AM
To: Scott Zigich <szigich@dsdmail.net>; ccarter@dsd.net; Reid Newey <rnewey@dsdmail.net>
Subject: Incident regarding bus incident on Feb. 4th at West Point Jr High


Good Morning,
I am the mother of                       , the student that was trapped in the bus doors at West Point Jr.
High.
I am making a formal request that all video Davis County School District, and the Transportation
Department have for the morning of February 4, 2019 that covers the time period of 7:40 am to 8:10
am at West Point Junior High be save and preserved. I am requesting that all video is preserved even if
the angle does not provide a view of the incident but that may reveal any potential witnesses.
I am not sure if I am going to take legal action at this time, I have looked up attorneys on multiple
occasions. I have been advised by friends to sue, to take this to social media, to take this to the
newspapers and radio stations, and even to contact the ACLU. The 3 children specifically named in this
email are mixed race, and based on the low minority population I think that race likely played a part in
the incidents. I am trying to sort out exactly what I would like to happen as a result this incident. I feel
like I am not getting a response regarding the incident and am upset that l have not been contacted
by the school district. I would like to view the video, I have made this request to Adam King and
Pamela Staveros. I was initially told I needed to submit a GRAM MA request, then was told I had rights
to the images that were captured under FERPA and would be contacted by WPJH, but last night Adam
King told me they do not have any video and I need to contact the district.
I put equal blame on Dave Roberts and the bus driver John, I believe his last name is Naisbitt. I am requesting that
a complete investigation is done on Dave Roberts history of following up on complaints made by parents. I do not
want Dave Roberts to be involved in making any determination of any circumstances or facts regarding this
incident.
 To briefly explain what happened, I received a phone call from my son                   , his voice was
 shaky and I could tell he was on the verge of tears, I could hear other students around him were very
 animated and discussing what had happened.                 explained to me how John, his bus driver,
 closed the door on him, trapping his body half way in the bus, then put the bus into gear and began
 to drive off with half of his body hanging out of the bus. He sounded terrified and embarrassed.


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                                        Mail - Brenda Mayes - Outlook
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RE: Incident regarding bus incident on Feb. 4th at West Point Jr High
Craig Carter <ccarter@dsdmail.net>
Thu 2/7/2019 1 :53 PM
To: Brenda Mayes <brenda.mayes@hotmail.com>
Cc: Reid Newey <rnewey@dsdmail.net>
Good afternoon Ms. Mayes,

I am indeed sorry for the events involving your son. Our students are our first priority. As Superintendent Newey
mentioned, we have moved swiftly and decisively with our employee involved with this situation.

We will also honor your request to Investigate the events that took place in October and the subsequent
investigation. Dr. Bernardo Villar will conduct that investigation. You will hear from Dr. Villar within the next day
or so.

Thank you for reaching out to us. We will stay in contact as we move through the Investigation process.

Regards,
Craig Carter

From: Brenda Mayes <brenda.mayes@hotmail.com>
Sent: Thursday, February 7, 2019 8:03 AM
To: Craig Carter <ccarter@dsdmail.net>
Subject: Fw: Incident regarding bus incident on Feb. 4th at West Point Jr High




From: Brenda Mayes
Sent: Thursday, February 7, 2019 7:31 AM
To: _gjgich@d§dmsiil.net; ccarter@g§d.Q§:!;; .t!lfil.lJl.§.Y.@dsdmail.Q.fil
Subject: Incident regarding bus incident on Feb. 4th at West Point Jr High


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                                               Brenda Mayes2-3     Filed 05/07/19 Page 3 of 3
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closed the door on him, trapping his body half way in the bus, then put the bus into gear and began
to drive off with half of his body hanging out of the bus. He sounded terrified and embarrassed.
When I went to the school I got details of how John had stopped at West Point Jr High around 7:58
am on February 4, 2019, John then opened the door and allowed about 5 to 1 O students to get off the
bus, as          got off the bus John shut him in the door and then drove forward.          has
discussed with me how afraid he was that he was going to go under the wheels of the bus.
This is not the first time we have had a problem with this bus driver, or with Dave Roberts, the director
of transportation.

On or around October 10th 2018 my younger son                      and our neighbor
who both attend West Point Elementary, were getting on to the bus and John, driving bus 1914
intentionally closed the doors on          , he then tried to close the doors on       . Luckily
was able to jump quickly and dodge the doors.                parents contacted the elementary and Dave
Roberts, John was taken off the route for about a week and then returned.           and           have
been afraid to ride the bus since that incident so            parents have driven them both to and from
school since then,        has rode the bus on days that              parents were unavailable to drive
him.
Dave Roberts has been notified on multiple occasions from multiple parents regarding this bus driver
and he has done nothing. John has a history of acting erratic, reckless, using profanities, and acting
aggressive to the children. He has inappropriate friendships with young girls he has made the "bus
monitors". John has pulled over on the side of the road and parents have had to go retrieve their
children from his bus. Last year John allowed a 6th grade boy to physically attack a much younger girl,
I believe she was in 3 rd grade, the same boy on multiple occasions punched, hit, had physical
altercations on the bus and John either disregarded the incidents or was incompetent of having any
control of the children on the bus. Dave Roberts has been notified and was aware of the problems
with John and failed at his duties as the Transportation Director and continued to allow John to drive.
I am asking that you review the messages that Dave Robert's secretary takes and investigate what if
any actions he has taken in response to issues with bus drivers. I believe you will likely find that he
disre9ards complaints with no action or does an inadequate job of reviewing the incidents he does
look into.
Dave Roberts stated to me that he had determined that the incident with             was a fabrication,
that it never happened. He told me that he had two adult witnesses at the bus stop who stated
nothing happened to             . I believe the incident with       happened at the school not at the
bus stop, so if he in fact spoke to two parents that stand at the bus stop he was asking the wrong
people.
When I spoke with Dave, he was dismissive, rude, and acted as if we were making up a story regarding
the morning of Feb. 4th.
Mr. Clark West Point Elementary stated that any video they had at the bus loop regarding the incident
with         has been now been overwritten. Davis County School District and the Transportation
department failed to investigate that incident. If John had been removed the incident with
would not have happened. This was a complete failure on the part of both the school district and the
transportation department.
I would appreciate if someone would contact me and let me know what actions have been taken, and I
would like assurance that Dave Roberts is not participating in any further investigation, or decision
maki�g regarding this incident. I would like to know who the contact person is that will be following
up with me.
 Please contact me,
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